Case
 Case1:19-cr-00127-PAE-ST
      1:19-cr-00127-PAE-ST Document
                            Document320-5
                                     318 Filed
                                          Filed05/22/25
                                                05/29/25 Page
                                                          Page11ofof55PageID
                                                                       PageID#:#:
                                    2644
                                    2787




                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NEW YORK
                                           2019-cr-127
 USA,
 Plaintiff,

 v.
 Lucio Celli
 Defendants.



 Judicial Misconduct Under the Act of 1980: Hon. Paul A. Engelmayer,
 U.S. District Judge, Southern District of New York



 COMPLAINT OF JUDICIAL MISCONDUCT
 I. Introduction

 Pursuant to 28 U.S.C. § 351, I respectfully submit this complaint of judicial misconduct against
 Judge Paul A. Engelmayer for conduct that constitutes willful misconduct, bias, prejudicial
 treatment, abuse of judicial office, and failure to perform judicial duties impartially. The
 allegations described herein are supported by documentary and testimonial evidence and
 constitute violations of constitutional standards of due process, judicial ethics, and the Judicial
 Conduct and Disability Act.



 II. Summary of Misconduct

 Judge Paul A. Engelmayer engaged in the following misconduct:

      1. Knowingly Allowed and Relied on Perjured Testimony from Probation Officer Joseph
         Lombardo, who testified falsely about the terms of my probation.
      2. Failed to Intervene or Disclose material exculpatory facts known personally to him
         from the July 21, 2021 transcript, which disproved the alleged violation.
Case
 Case1:19-cr-00127-PAE-ST
      1:19-cr-00127-PAE-ST Document
                            Document320-5
                                     318 Filed
                                          Filed05/22/25
                                                05/29/25 Page
                                                          Page22ofof55PageID
                                                                       PageID#:#:
                                    2645
                                    2788



    3. Ignored Subornation of Perjury by Assistant U.S. Attorney Karamigios, who elicited
       false testimony at the probation violation hearing.
    4. Enabled and Participated in Retaliation by allowing attorneys assigned to my case to
       obstruct my defense.
    5. Refused to Recuse himself despite actual and perceived conflicts of interest involving
       Randi Weingarten and Senator Charles Schumer.
    6. Failed to Safeguard the Right to Effective Counsel, despite clear evidence of a
       conspiracy among counsel to undermine my defense, in violation of the Sixth
       Amendment.



 III. Supporting Facts and Legal Authorities
 A. Use of Perjured Testimony – Napue v. Illinois, 360 U.S. 264 (1959)

 At a revocation hearing, Officer Joseph Lombardo falsely testified that the conditions of my
 probation were dictated by email from Benjamin Silverman. Judge Engelmayer personally
 stated those terms on July 21, 2021. He therefore knew this testimony was false, yet allowed
 the government to rely on it to revoke my liberty.

 In Napue, the Supreme Court held that the government violates due process where a conviction
 is obtained through false testimony, even if the prosecution did not directly solicit it. Here, the
 Court itself facilitated the due process violation.

 B. Judicial Knowledge and Inaction – Mooney v. Holohan, 294 U.S. 103 (1935)

 Judge Engelmayer knew of the perjury because he himself dictated the relevant probation
 terms. His failure to act upon this knowledge and correct the record constitutes judicial
 complicity in a constitutional violation.

 In Mooney, the Court held that a conviction obtained by the knowing use of false evidence by
 state actors violates the Fourteenth Amendment. A judge’s silence in the face of perjury is not
 neutral—it is complicity.

 C. Failure to Intervene in Attorney Misconduct – Holloway v. Arkansas, 435 U.S. 475 (1978)

 Judge Engelmayer also knew that my counsel, Susan Kellman, was involved in a conspiracy to
 suppress exculpatory evidence. He failed to inquire or remove her, even after her refusal to
 introduce the July 21 transcript which disproved the government’s claim. The Supreme Court
 in Holloway ruled that when a judge is aware of potential conflict or misconduct by counsel, he
 must conduct a “searching inquiry”. Judge Engelmayer refused to act, despite overwhelming
 evidence that my counsel was acting against my interests.
Case
 Case1:19-cr-00127-PAE-ST
      1:19-cr-00127-PAE-ST Document
                            Document320-5
                                     318 Filed
                                          Filed05/22/25
                                                05/29/25 Page
                                                          Page33ofof55PageID
                                                                       PageID#:#:
                                    2646
                                    2789



 D. Judicial Bias and Recusal – Caperton v. A.T. Massey Coal Co., 556 U.S. 868 (2009)

 Despite clear conflicts of interest, Judge Engelmayer refused to recuse himself. He was
 appointed to the bench on Senator Schumer’s recommendation, yet proceeded to rule in a
 matter where Randi Weingarten—a close personal friend of Schumer’s—was implicated in
 a retaliatory conspiracy against me. Schumer publicly describes Weingarten as being “like a
 sister.” Under Caperton, such relationships create an objective probability of bias and demand
 recusal under the Due Process Clause.

 E. Constructive Denial of Counsel – United States v. Cronic, 466 U.S. 648 (1984)

 The totality of events surrounding Judge Engelmayer’s courtroom reveals a breakdown of the
 adversarial process. Attorneys Kellman and Silverman sabotaged my defense, yet the judge
 allowed them to proceed. He knew they had refused to introduce evidence, conspired with
 outside actors, and violated ethical duties. As Cronic holds, when no meaningful adversarial
 testing occurs, the Sixth Amendment is violated and prejudice is presumed.



 IV. Pattern of Retaliation and Abuse of Authority

 This was not isolated error. Judge Engelmayer’s inaction furthered a pattern of retaliation
 initiated by outside political actors. Petitioner was targeted through:

    •   False probation violations;
    •   Sabotaged disciplinary hearings;
    •   Suppression of exonerating recordings;
    •   The use of planted, conflicted defense counsel.

 Judge Engelmayer played a central role in allowing these retaliatory actions to take root and
 flourish, in violation of his oath and constitutional obligations.



 V. Relief Requested

 I respectfully request that the Chief Judge of the Court of Appeals initiate a formal investigation
 under 28 U.S.C. §§ 352–353 into the conduct of Judge Paul A. Engelmayer and determine
 whether:

    1. He knowingly allowed the use of perjured testimony;
    2. He engaged in willful misconduct or bias;
    3. He abused his judicial authority by refusing recusal in matters involving personal or
       political entanglements;
Case
 Case1:19-cr-00127-PAE-ST
      1:19-cr-00127-PAE-ST Document
                            Document320-5
                                     318 Filed
                                          Filed05/22/25
                                                05/29/25 Page
                                                          Page44ofof55PageID
                                                                       PageID#:#:
                                    2647
                                    2790



    4. He failed to fulfill his constitutional obligation to safeguard due process and effective
       assistance of counsel.

 I request that appropriate discipline be imposed and that the matter be referred to the Judicial
 Conference of the United States if necessary.



    •   Dismissal of the alleged violation,
    •   Reinstatement of original conditions of release,
    •   Or an evidentiary hearing on the full scope of constitutional violations.




 DATED: [Date]
 Respectfully submitted,
 Lucio Celli
 89 Widmer Road
 Wappingers Falls, New York 12590
 929-429-0155
 Lucio.Celli.12@gmail.com
Case
 Case1:19-cr-00127-PAE-ST
      1:19-cr-00127-PAE-ST Document
                            Document320-5
                                     318 Filed
                                          Filed05/22/25
                                                05/29/25 Page
                                                          Page55ofof55PageID
                                                                       PageID#:#:
                                    2648
                                    2791



 Certificate of Service
 I hereby certify that on [Date], a copy of the foregoing Motion to [Specify Relief Sought] was
 filed electronically. Notice of this filing will be sent by operation of the Court’s electronic
 filing system to all parties indicated on the electronic filing receipt. Parties may access this
 filing through the Court’s system.

 [Attorney's Name]
